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                              UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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      ANTHONY MARQUEZ,                         Case No.: 2:21-cv-01045-AB (JPRx)
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 11
                 Plaintiff,
                                               [PROPOSED] ORDER GRANTING
 12        vs.                                 STIPULATION DISMISSING WITH
                                               PREJUDICE DEFENDANT
 13 TRANSUNION LLC, EXPERIAN                   EXPERIAN INFORMAITON
      INFORMATION SOLUTIONS,                   SOLUTIONS, INC.
 14 CAMINO FEDERAL CREDIT

 15 UNION,
                 Defendants.
 16

 17        THE COURT having reviewed the Parties’ Stipulation for Dismissal with
 18 Prejudice of Defendant Experian Information Solutions, Inc., IT IS HEREBY

 19 ORDERED that Defendant Experian Information Solutions, Inc., is DISMISSED

 20 with prejudice from the matter. Each party shall bear its own attorneys’ fees and

 21 costs. Because all named Defendants have now been dismissed with prejudice (See

 22 Dkt. Nos. 21, 28), this action is hereby DISMISSED in its entirety. All pending

 23 dates and deadlines are VACATED.

 24        IT IS SO ORDERED.
 25

 26 DATED: October 28, 2021
                                          HONORABLE ANDRÉ BIROTTE JR.
 27
                                          UNITED STATES DISTRICT JUDGE
 28

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                                       [PROPOSED] ORDER
